            Case 8:18-bk-07194-RCT          Doc 10        Filed 10/12/18   Page 1 of 57



                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

IN RE:
                                                               CASE NO.: 8:18-07194-RCT

WILLIE J DINKS
AKA WILLIE JAMES DINKS
PEARLY M. DINKS
AKA PEARLY MAE DINKS
                                                               CHAPTER: 7
                       Debtor(s).
                                                      /
                   MOTION FOR RELIEF FROM AUTOMATIC STAY
                RE: Surrendered Property 1309 Church St, Plant City, FL 33563

______________________________________________________________________________
                              NOTICE OF OPPORTUNITY TO
                           OBJECT AND REQUEST FOR HEARING

        Pursuant to Local Rule 2002-4, the court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within 21 days from
the date set forth on the attached proof of Service, plus an additional three days for service if any
party was served by U.S. Mail.

       If you object to the relief requested in this paper, you must file a response with the clerk
of the court at 801 N. Florida Avenue, Suite 555, Tampa, FL 33602 and serve a copy on the
movant’s attorney, Brian L. Rosaler, Popkin & Rosaler, P.A., 1701 West Hillsboro Boulevard,
suite 400, Deerfield Beach, FL 33442, and any other appropriate persons within the time
allowed. If you file and serve a response within the time permitted, the court will either schedule
and notify you of a hearing or consider the response and grant or deny the relief requested
without a hearing.

        If you do not file a response within the time permitted, the court will consider that you do
not oppose the relief requested in the paper, will proceed to consider the paper without further
notice or hearing, and may grant the relief requested.

______________________________________________________________________________




TO THE HONORABLE JUDGE OF SAID COURT:

18-46105B
            Case 8:18-bk-07194-RCT         Doc 10     Filed 10/12/18     Page 2 of 57



        SECURED CREDITOR, SELECT PORTFOLIO SERVICING, INC. SERVICER FOR
U.S. BANK NATIONAL ASSOCIATION, AS INDENTURE TRUSTEE FOR TOWD POINT
MORTGAGE TRUST ASSET-BACKED SECURITIES, SERIES 2015-3 (“MOVANT”), by
and through its undersigned attorney, hereby Moves for Relief from the Automatic Stay pursuant
to 11 USC §362(d) and Bankruptcy Local Rule 4001(c), and in support states as follows:
1. On August 27, 2018, the above Debtor(s) filed a Voluntary Petition for Relief pursuant to
    Chapter 7 of the United States Bankruptcy Code.
2. This is a motion pursuant to 11 USC §362(d) and Bankruptcy Local Rule 4001(c) for Relief
    from the automatic stay provisions of Section 362(a) of the Bankruptcy Code.
3. Debtor(s) executed a promissory note secured by a mortgage. The promissory note is either
    made payable to Creditor or has been duly indorsed. MOVANT, directly or through an
    agent, has possession of the promissory note, MOVANT is the original mortgagee or
    beneficiary or the assignee of the mortgage. MOVANT is a secured creditor by virtue of a
    promissory note, mortgage, and assignment of mortgage(s) which is attached to this motion
    as Exhibit “A” on real property. Said real property has the following legal description:




    A/K/A: 1309 CHURCH ST, PLANT CITY, FL 33563


4. As of August 31, 2018, the approximate value of debt due is $72,542.65. An affidavit in
    Support of MOVANT'S Motion is attached as Exhibit “B”.
5. Debtor has listed an intent to surrender the property in his latest Statement of Intention
    [DE#1 PG 47].
6. The estimated value of the property is $45,760.00. This valuation is based on the fair market
    value as determined by the County Property Appraiser. See County Property Appraisal
    attached as Exhibit “C.” Thus, there is no equity in the property for the benefit of unsecured
    creditors of the estate.

18-46105B
             Case 8:18-bk-07194-RCT        Doc 10     Filed 10/12/18     Page 3 of 57



7. The above referenced real property has been claimed by the Debtor(s) as Nonexempt and has
    not been abandoned by the Trustee.
8. That the Debtor failed to adequately protect the interest of the secured creditor.
9. That MOVANT, is prohibited from proceeding with foreclosure in the State Court because of
    the pendency of this bankruptcy action, and that in the absence of the Court's Order allowing
    the secured creditor to proceed with the foreclosure action the security will be significantly
    jeopardized.
10. Once the stay is terminated, the Debtor will have minimal incentive to insure, preserve, or
    protect the collateral; therefore, Secured Creditor requests that the Court waive the 14-day
    stay period imposed by Fed.R.Bankr.P. 4001(a)(3).
11. Movant’s post-petition address for payments is: P O BOX 65250, Salt Lake City, UT 84165-
    0250.
12. Movant’s security interest in the property is being significantly jeopardized by the Debtor’s
    failure to make said payments while Movant is prohibited from pursuing lawful remedies to
    protect said security interest.
13. Movant further requests language in the Court’s Order to reflect that it will survive any
    subsequent conversion of the case to another Chapter of the Bankruptcy Code.
14. The entity which has the right to foreclose is SELECT PORTFOLIO SERVICING, INC.
    SERVICER FOR U.S. BANK NATIONAL ASSOCIATION, AS INDENTURE TRUSTEE
    FOR TOWD POINT MORTGAGE TRUST ASSET-BACKED SECURITIES, SERIES
    2015-3


    WHEREFORE, PREMISES CONSIDERED, MOVANT moves this Honorable Court for
an Order granting relief from the automatic stay and waiver of the 14-day stay imposed by
Fed.R.Bankr.P. 4001(a)(3).




18-46105B
            Case 8:18-bk-07194-RCT          Doc 10     Filed 10/12/18   Page 4 of 57



    I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for
the MIDDLE District of Florida, and I am in compliance with the additional qualifications to
practice in this Court set forth in the Local Rules.
                                               POPKIN & ROSALER, P.A.
                                               Attorney for Secured Creditor
                                               1701 West Hillsboro Boulevard, Ste 400
                                               Deerfield Beach, FL 33442
                                               Telephone: (954) 360-9030
                                               Facsimile: (954) 420-5187
                                               bankruptcy@popkinrosaler.com
                                               By:    /s/ BRIAN L. ROSALER
                                               BRIAN L. ROSALER
                                               Florida Bar No.: 0174882

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been served on
this this 12 day of October , 2018 by electronic notice if registered in the Electronic Case
Filing system, otherwise by regular U.S. Mail to:
        Willie J Dinks
        1801 E Ohio St
        Plant City, Fl 33563-6023

        Jordan M Finley, Esq.
        Florida Law Advisers, P.A.
        2202 North Westshore Boulevard
        Suite 200
        Tampa, Fl 33607

        Pearly M. Dinks
        1801 E Ohio St
        Plant City, Fl 33563-6023

        Trustee
        Carolyn R. Chaney
        Po Box 530248
        St. Petersburg, Fl 33747

        U.S. Trustee
        United States Trustee - Tpa7/13
        Timberlake Annex, Suite 1200
        501 E Polk Street
        Tampa, Fl 33602                                     y:     /s/ BRIAN L. ROSALER
                                                            BRIAN L. ROSALER
                                                            Florida Bar No.: 0174882



18-46105B
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 5 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 6 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 7 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 8 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 9 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 10 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 11 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 12 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 13 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 14 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 15 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 16 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 17 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 18 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 19 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 20 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 21 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 22 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 23 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 24 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 25 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 26 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 27 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 28 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 29 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 30 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 31 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 32 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 33 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 34 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 35 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 36 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 37 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 38 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 39 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 40 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 41 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 42 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 43 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 44 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 45 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 46 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 47 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 48 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 49 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 50 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 51 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 52 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 53 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 54 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 55 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 56 of 57
Case 8:18-bk-07194-RCT   Doc 10   Filed 10/12/18   Page 57 of 57
